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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.    04-40141-01, 02
                                             )
ARLAN DEAN KAUFMAN and                       )
LINDA JOYCE KAUFMAN,                         )
                                             )
                         Defendants.         )
                                             )


                              MEMORANDUM AND ORDER
        Hopefully this Memorandum and Order will serve as the final

chapter to the sentencing phase of this prolonged and disturbing
case.
        Defendants stand justly convicted of conspiracy, forced labor,

involuntary servitude, health care fraud, mail fraud and other
felonies, all arising out of their decades-long operation of homes
for persons needing care, mostly due to various forms of mental
illness.      The court sentenced Arlan and Linda Kaufman to prison
terms of 30 and 7 years, respectively.                 The case is now on appeal.

        The court has before it the following:
              1.   Government’s brief regarding restitution and
                   forfeiture (Doc. 349):

              2.   Arlan Kaufman’s response to the motion hearing
                   on restitution (Doc. 388);
              3.   Linda Kaufman’s response to the government’s
                   brief regarding restitution and forfeiture
                   (Doc. 403); and
              5.   Government’s reply (Doc. 411).

In addition, the court has considered defendants’ presentence
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reports,    section 5E1.1 of the advisory guidelines, the transcript
of the February 7, 2006 restitution hearing and exhibits received,

and its memory and notes regarding the evidence received at the
trial (The trial transcript, which is estimated to exceed 5,000
pages, has not yet been prepared).
                    Introduction and Applicable Law
     The parties agree that restitution is to be determined by the

provisions of the Mandatory Victims Restitution Act (MVRA), 18
U.S.C. § 3663A. Before turning to the issues regarding restitution
to the individual victims, two matters need to be mentioned.
First, this order will be filed more than 90 days after sentencing.
By letter dated March 29, 2006, the court informed the clerk of the

Tenth    Circuit   that    there    would    be   a   delay     (Doc.     401).       Ms.
Shoemaker    responded     that     this    court’s     interpretation          of    the
statutes and applicable Tenth Circuit case law set forth in his
letter    was   correct.       In    addition,        counsel     who     represented
defendants at trial consented to the additional time.                      Therefore,

the court finds that it has jurisdiction to rule on the restitution
issues.
     Second, the court recognizes that the defendants’ sentences of
incarceration,     particularly       Arlan       Kaufman’s,       will    make      full
restitution of the victims’ losses unlikely.                   Through his counsel,

Arlan Kaufman’s counsel represents that defendants’ funds                            and
assets have been exhausted, or nearly so, which the court does not
doubt since it authorized defendants to appeal in forma pauperis.
Defendants’ real property is subject to forfeiture in an on-going



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separate proceeding.1       Arlan Kaufman argues that no restitution
should be ordered but that if it is “Restitution in any significant

amount from a man whom the Court has advised is going to spend the
rest of his life in prison and whose property and assets have been
seized and are subject to forfeiture is, in effect, a futile
exercise.    If the Court were to order a certain percentage to be
paid from Dr. Kaufman’s commissary account on a regular basis, such

would hardly allow a significant amount of restitution in any
sense.   But such would further penalize Dr. Kaufman from receiving
even the small pleasures afforded one incarcerated for the rest of
his life.”    (Doc. 388 at 1).
     The court rejects this argument for several reasons.                   First,

the court is utterly unconcerned about any “small pleasures” which

     1
     The AUSA handling the forfeiture proceeding has provided the
following information concerning the property to be forfeited:
     199 W. 8th, Newton           -    Appraised value:                    $45,000
               - Anticipated recovery: $39,233.64
     321 W. 7th, Newton           -    Appraised value:                    $32,000
               - Anticipated recovery: $26,803

     413 W. Broadway, Newton      -    Appraised value:      $75,000
               - Anticipated recovery: $ 5 4 , 0 0 0 t o $ 6 9 , 0 0 0
                                       depending on the amount of
                                       lien
     7130 Shumway, Potwin         -    Appraised value:                    $147,000
               - Anticipated recovery: $133,000
     The jury found that each of these properties was used by
defendants to commit the offenses of forced labor and involuntary
servitude (Doc. 311-4).
     It cannot be determined when a final order concerning
forfeiture will be made. The government has indicated that it will
make any forfeiture proceeds available for payment of restitution
(Doc. 349 at 1). See also United States v. O’Connor, 321 F. Supp.
2d 722, 729-30 (E.D. Va. 2004).

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Arlan   Kaufman   may    be    denied   during     his   incarceration.         What
happens, or does not happen, to Arlan and Linda Kaufman during

their periods of incarceration is the business of the Bureau of
Prisons, not this court.             Nevertheless, a sad irony is that
defendants’ conditions of confinement will be better than the
conditions endured by many of the Kaufman House residents.
     An additional reason to reject the argument is that the court

is precluded as a matter of law from considering defendants’
economic circumstances in ordering restitution of victims’ losses.
18 U.S.C. § 3664(f)(1)(A).            The reason for this prohibition is
explained in United States v. Catoggio, 326 F.3d 323, 329 (2nd
Cir.), cert. denied, 540 U.S. 939 (2003):

     However, the MVRA makes clear that the defendant's
     ability to pay should not be considered in determining
     the amount of restitution. Congress evidently wanted to
     ensure that victims be fully compensated for a
     defendant's past crimes if that defendant “unexpectedly
     inherit[s] money, win[s] the lottery, or otherwise
     strike[s] it rich.” [United v. ]Grimes, 173 F.3d at 639;
     see also United States v. Vandeberg, 201 F.3d 805, 812
     n.3 (6th Cir. 2000).

Defendants’ economic circumstances are relevant only in setting a
payment schedule United States v. Wilson, 416 F.3d 1164, 1170 (10th
Cir. 2005).
     Finally, the Tenth Circuit has made it clear that restitution

is not punishment, United States v. Garcia-Castillo, 127 Fed.Appx.

385 (10th Cir. 2005).           Therefore, as a matter of law, neither
defendant will be “further penalized” by having to make restitution
to the victims.
     Defendants’        presentence     reports       specifically       list    six

individual victims as eligible for restitution plus Medicare Part

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B and Mennonite Mutual Aid (MMA), an insurance company which
provided supplemental insurance coverage for Peter L, one of the

victims.       In its brief regarding restitution, the government has
addressed each victim (Doc. 349).              Linda Kaufman’s counsel has
addressed restitution issues as to all six victims plus Medicare
and MMA (Doc. 403).        Arlan Kaufman’s counsel’s response (Doc. 388
at 1-7) has not addressed in any detail the individual restitution

claims    of    the   victims.     Arlan   Kaufman’s      unauthorized       pro   se
response (Doc. 388 at 9-72, plus exhibits) ostensibly responds to
the restitution claims of the individual victims.                     In reality,
however, it is disorganized, poorly written and interspersed with
diatribe regarding government counsel and government witnesses so

as to be virtually worthless.             As with his lengthy testimony at
trial    and    his   three-plus   hour    statement     at   sentencing,     Arlan
Kaufman’s statements regarding restitution continue to reflect his
arrogant refusal to acknowledge not only his wrongdoing, but also
that no rational, responsible person anywhere in the civilized

world would view his conduct as acceptable, much less that of a
professional whom society reasonably expected to help, not harm,
persons who were dependent upon him.
                                   The Victims2

     2
     Based on the evidence presented at trial, virtually every
person who ever resided at Kaufman House would qualify as a victim.
The victims considered in this order are only those who have made
a claim for restitution.
     The term "victim" means a person directly and proximately
harmed as a result of the commission of an offense for which
restitution may be ordered including, in the case of an offense
that involves as an element a scheme, conspiracy, or pattern of
criminal activity, any person directly harmed by the defendant's

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                                   Barbara T
     Barbara T resided at Kaufman House for thirteen years, from

1981 through 1994. Defendants were convicted of subjecting Barbara
T to forced labor in violation of 18 U.S.C. § 1589 (count 3),
holding Barbara T in involuntary servitude in violation of 18
U.S.C. § 1584 (count 5), health care fraud in violation of 18
U.S.C. § 1347 (counts 11 and 18) and conspiracy (count 1).                      The

jury unanimously found beyond a reasonable doubt in response to
special questions that Barbara T was a “vulnerable victim” (Doc.
311-4 at 4), that both defendants physically restrained Barbara T
(Doc. 311-4 at 5) and that Barbara T was held in involuntary
servitude and subjected to forced labor for more than one year

(Doc. 311-4 at 6).
     Arlan     Kaufman     was   appointed    Barbara     T’s   conservator     and

guardian by the District Court of Harvey County, Kansas, Case No.
89P2276.      An initial inventory of assets as of August 11, 1989,
signed   by    Arlan   Kaufman,    listed    assets     totalling     $103,269.95

(Exhibit      R-18).     When    Barbara    T’s   brother     died,   his    estate
distributed $165,697.10 on December 12, 2002, to Arlan Kaufman as
Barbara T’s conservator (Exhibit R-19).               In addition, during the
period July 1994 through June 2001, Barbara T received social
security checks totalling $36,840, all of which were negotiated by

Arlan Kaufman as Barbara T’s “representative payee” (Exhibits 60


criminal conduct in the course of the scheme, conspiracy, or
pattern. 18 U.S.C. §§ 3663A(a)(2) and (c)(1)(A)(i).
     See also 18 U.S.C. § 16, which defines crime of violence. Any
person who is subjected to forced labor and involuntary servitude
is a victim of a crime of violence.

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and 60e).        The total of these three amounts is $305,807.05.
        Between August 2002 and May 2004, Arlan Kaufman wrote numerous

checks      on     Barbara     T’s   conservator         account     which        totalled
$96,756.47. Some of the checks bore notations regarding “therapy.”
The Kaufmans’ “therapy” methods served as the basis for several of
the counts of conviction.            Therefore, the notations have little or
no probative value insofar as the legitimacy of the payment is

concerned. In their searches of defendants’ properties, government
agents were not able to find any sort of accounting with respect
to    Arlan      Kaufman’s    expenditures        of   Barbara     T’s    funds.      The
presentence report notes that on May 19, 2004, Arlan Kaufman was
ordered by the District Court of Harvey County, Kansas to file

annual reports but that he failed to do so.
        In the presentence reports, $202,228.14 in restitution is

sought on behalf of Barbara T.                At the restitution hearing, the
government presented evidence to support restitution in the sum of
$245,426.14        broken     down   into    four      components:       trust     account

($95,756.47); initial inventory ($103,269.95); social security
($36,840) and care provided by Barbara T to another resident, Mary
O ($8,560).        The evidence also showed that $165,697.10 was paid to
Arlan Kaufman from the estate of Barbara T’s brother and the
evidence is clear that Arlan Kaufman negotiated the check.                           It is

not clear why the government did not include this figure but the
court has elected to consider it.
        Arlan Kaufman has responded to Barbara T’s restitution claim
by providing conservatorship accountings filed in the District
Court of Harvey County, Kansas (Doc. 388 at 54-55 and Exhibit 42).

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The accountings cover the period from August 1989 through August
1998, (with the exception of 1992 and 1993).                     The accountings show

disbursements for medications, food, utilities, clothes, rent and
other items totalling $86,632.52.                  None of the accountings contain
any supporting documentation.
       Linda Kaufman’s objections to restitution for Barbara T are

(1) that the government failed to demonstrate causation between the

counts of conviction and the restitution claim and (2) no credit
has been given for the “unquestionably legitimate benefits received
by Barbara T” during the time she lived at Kaufman House such as
housing, food and medicine.             No dollar value is assigned to these
“benefits.”

       The court rejects both of these objections.                       The jury found
that    defendants     held    Barbara       T     in    involuntary     servitude    and
subjected her to forced labor while, during the same time period,
Arlan    Kaufman      was   acting      as    her       conservator      and   receiving
substantial monies on her behalf.                  Only a portion of those monies

is accounted for, without supporting documentation.                            Given the
conduct surrounding the counts of conviction involving fraud, the
accuracy       and   veracity     of     Arlan          Kaufman’s      accountings    are
questionable, at best.            So too is the nature and value of the
“unquestionably legitimate benefits” received by Barbara T.

       The court finds that restitution of $250,000 will be awarded
to Barbara T.
                                        Peter L
       Peter    L    resided    at     Kaufman          House   from    1983   to    1997.

Defendants were convicted of conspiracy relating to false claims

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submitted on behalf of Peter L (count 1).
        In the presentence reports, Peter L seeks restitution of

$51,373.85 representing hospitalizations during the years 1997
through 2001.        The government has submitted an affidavit of Peter
L supporting his restitution claim to which are attached statements
from     hospitals    and     nursing   homes     where       Peter     L    was     confined
following his departure from the Kaufman House (Exhibit R-17).

Peter L also testified at trial.
        Defendants,    through     their    counsel,       do     not       object    to    the

amounts of the bills submitted in support of Peter L’s claims.
Instead, they object on the basis that there is no evidence to show
that the hospitalizations were necessitated by or related to Peter

L’s treatment by defendants (Transcript of restitution hearing at
12-18, Doc. 388 at 6-7 and Doc. 403 at 8-10).                               Arlan Kaufman
predictably argues that Peter L and his mother (Metta, who also was
a victim at trial) were lying when they testified that Peter L’s
condition improved after leaving Kaufman House.                         He supports his

statement with a record from Peter L’s admission to a psychiatric
facility in 2001 which contains diagnoses of schizophrenia, panic
disorder and psychotic disorder.
        The court rejects defendants’ argument that Peter L is not

entitled to restitution because there is no (presumably expert)

testimony that the hospitalizations were caused by his treatment
at    Kaufman     House.       Defendants        cite    no     authority          for     this
proposition.
        The court has reviewed its notes regarding Peter L’s and Metta

L’s trial testimony.           Peter L had serious mental issues before he

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went to Kaufman House.          His mother described him as a “handful.”
By his own testimony, Peter L continued to be a “handful” during

his years at Kaufman House and, to some extent, at facilities where
he resided after leaving Kaufman House.               Nevertheless, the court
accepts Peter L’s testimony that his condition improved after
leaving Kaufman House, in part because of treatment he received at
the hospital and nursing home facilities.                Thus, the court finds

that there is sufficient evidence to demonstrate that Peter L’s
treatment at Kaufman House necessitated further mental treatment
and that defendants are liable for restitution for a portion of
that treatment.3      Peter L is entitled to restitution in the sum of
$20,000.

                                      Jerry J
    Jerry     J     resided     at   Kaufman    House    from    1980    to     2000.

Defendants were convicted of Medicare fraud pertaining to Jerry J
(counts 20 and 22) and conspiracy (count 1).
    In the presentence reports, Jerry J seeks restitution of

$107,400 based upon a $10,000 life insurance policy which Arlan
Kaufman    cashed    for   $2,300;     for     government     benefits        paid   to
defendants during his term of residence at Kaufman House and for

    3 The court is aware that 18 U.S.C. § 3663A does not speak
specifically to restitution for offenses regarding mental or
emotional, as opposed to bodily, injury.      However, 18 U.S.C. §
3663A is applicable to crimes of violence (§ 3663A(c)(1)(A)(i)) and
the court is satisfied that the evidence showed that every Kaufman
House resident, to one degree or another, was a victim of a crime
of violence. Therefore, the court believes that under § 3663A,
restitution for mentally-related treatment is available.        See
United States v. Erickson, 83 Fed. Appx. 997 (10th Cir. 2003). The
court does not believe that restitution would contravene United
States v. Barton, 366 F.3d 1160, 1167 (10th Cir. 2004) which holds
that consequential damages are not recoverable under the MVRA.

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five years worth of lawn mowing services (Exhibit 60 and 60d and
transcript of restitution hearing at 9-11 and 44-45).                  Exhibit 60

and 60d were social security payments on Jerry J’s behalf of
$41,356.67 before July 1994 and social security payments of $45,532
from July 1994 to April 2000.         These two amounts total $86,888.67.
    Through their counsel, defendants object to restitution by

Jerry J on the basis that he was not a victim of any offense of

conviction.     This      objection    is    overruled.        Defendants         were
convicted of conspiracy to defraud residents through the use and
threatened use of physical restraint.               Among other things, the
evidence   demonstrated      that   Jerry     J   was   placed    naked      in    the
“seclusion room” at the Seventh Street house.                 A female resident

helped him masturbate and Arlan Kaufman touched his genitals.
Defendants also object that the government has not shown that the
social security benefits paid to defendants on Jerry J’s behalf
were not used to cover his expenses during the twenty years he
lived at Kaufman House.        Defendants point out that, broken down,

his benefits are $4,344 per year which the evidence showed was used
for Jerry J’s housing, food, medication and nursing services (Doc.
388 at 7 and Doc. 403 at 10-12).
    The court partially agrees with defendants.                  The government

has not presented evidence that defendants did not use at least

some of the social security payments for Jerry J’s benefit or that
the amount, spread over twenty years, was unreasonable.                 The court
declines to award restitution for lawn mowing services based on
some sort of quantum merit theory.           Finally, the government has not
demonstrated that Linda Kaufman provided no nursing services to

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Jerry J.    The evidence at trial was disputed regarding the nature
of the nursing services provided by Linda Kaufman to the residents

of Kaufman House but it was not disputed that she did provide some
services.
    The court finds that Jerry J is entitled to restitution in the
sum of $20,000.
                                    Kevin R

    Kevin R resided at Kaufman House for more than 25 years.
Defendants    were   convicted      of    holding   Kevin    R   in   involuntary
servitude (count 6), of health care fraud pertaining to Kevin R
(counts 9 and 17) and conspiracy (count 1).                  The jury answered
affirmatively to a special question that both defendants subjected

Kevin R to involuntary servitude (Docs. 311-2 at 2 and 311-3 at 3)
for a term of more than one year (Doc. 311-4).
    In     the   presentence     reports,       Kevin   R    seeks    restitution
totalling    $54,000   for   rent    and    nursing     services      he   paid   to
defendants during the period he resided at Kaufman House.                    Somehow,

it is not clear why, Kevin R’s claims presented at the restitution
hearing total $16,230.12 based on nursing services totalling $4,389
for the period of March 2001 through October 2004 (Exhibit R-7),
Medicare payments totalling $5,478.62 paid from 1997 through 2000,
$4,450 representing services Kevin R provided to another resident,

Mary O, and $2,062.50 representing his share of a settlement
(Exhibit R-9) which he claims he paid to Arlan Kaufman (in his
declaration, Exhibit R-8, Kevin R states that his portion of the
settlement was approximately $1,400).            At the restitution hearing,
government counsel stated that Kevin R was claiming restitution of

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only $10,000 which “. . . the Government believes that’s below what
we can establish as a loss figure.” (Transcript of restitution

hearing at 40-43).
    Defendants’ counsel point out that although the government is

seeking restitution of $16,230.12 for Kevin R, Kevin himself is
seeking restitution of only $10,000.
    The court finds from the evidence that Kevin R is entitled to

restitution in the sum of $10,000.
                                  Nancy J
    Nancy J was a resident at Kaufman House from March 1986 to
March 1987.    Defendants were convicted of conspiracy pertaining to
Nancy J (count 1).

    Nancy J She seeks the modest sum of $4,001.14 for medical and
hospital bills she incurred for treatment after she left Kaufman
House.    Her claim is supported, both as to the care received and
the amounts claimed (Exhibit R-10).
    Defendants’ counsel’s principal objection to Nancy J’s claim

is that there is no evidence to show a causal connection between
Nancy J’s treatment at Kaufman House and the treatment for which
she is making a claim.
    The court has reviewed its notes of Nancy J’s trial testimony.

There is no question that Nancy J had many problems before she was

referred to Kaufman House by arguably well-meaning but ignorant
members   of   her   church    (sadly,     ignorance      of   or   deliberate
indifference to what was going on at Kaufman House by members of
churches is a theme running throughout this case).             Based on Nancy
J’s trial testimony regarding her experiences at Kaufman House,

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which the jury       believed and which was not refuted by any credible
evidence, the court finds that the government has met its burden

and awards Nancy J $4,001.14 in restitution.
                                        Mary O
       Mary O is an elderly woman who resided at Kaufman House from
1988    through   2004.     Defendants       were    convicted      of   conspiracy
pertaining to Mary O (count 1).

       Through the attorney for Mary O’s guardian, a claim is made in
the    presentence    reports     for    $126,637.64.         At   the   restitution
hearing, the government sought restitution of $52,345 representing
therapy services never provided, $59,173 for nursing services not
provided and $23,814.95 representing monies paid to a “building

fund” (Exhibit R-20, restitution transcript at 18-22 and 46-48).
These sums total $135,332.95.
       Arlan Kaufman’s counsel’s response is that “the government is
in possession of literally hundreds of messages from Mary O to
Linda K dealing with her condition and asking questions to her

nurse/care giver.” (Doc. 388 at 7).                 Linda Kaufman’s counsel’s
response is that the nursing and personal services provided by
Linda Kaufman to Mary O during the eighteen years she lived at
Kaufman House are substantiated by Exhibit R-22 and therefore the
$59,173 restitution claim should be denied.                    Attached to Linda

Kaufman’s     response      are     invoices        which      purport         to   be
“representative” of invoices showing nursing services rendered to
Mary O (Doc. 403-3).       In addition, Arlan Kaufman has responded to
the claims for restitution on behalf of Mary O (Doc. 388 at 51-54)
and Linda Kaufman has adopted his response.                   According to Arlan

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Kaufman, the new construction was requested by Mary O’s then-
guardian and was approved by a Judge Welborn.                       Arlan Kaufman

represents that Mary O participated in “evening groups” but was
unable to function in a therapy group because she had a lobotomy.
Arlan Kaufman claims that the building fund improvement and payment
for his services were approved by the “Conservator, Guardian &
Judge.”      There is no evidence in the file to support such approval,

particularly by a “judge.”
       Mary O was deposed but her testimony was not offered at trial,

either by the government or by defendants.
       The court finds from the evidence that Mary O is entitled to

restitution in the sum of $10,000.

                               Mennonite Mutual Aid
       The government has provided photocopies of two checks drawn on

MMA’s account to Kaufman Treatment Center for the benefit of Peter
L    which    total   $3,903.16     (Exhibit     R-4).        The    court     awards
restitution in that amount.

                                     Medicare
       The   court    orders     restitution    to   Medicare       in   the   amount

claimed, $216,906.23, for the reasons put forth by the government
in its submissions, Docs. 349 and 411.                   However, Medicare is
assigned the lowest priority.           18 U.S.C. § 3664(i)

                       Restitution Order Pursuant to
                             18 U.S.C. § 3664(b)(3)(A)
       In fashioning this restitution order, the court has considered
United States v. Wilson, 416 F.3d 1164 (10th Cir. 2005), which
states, in pertinent part:

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      The defendant's economic circumstances are relevant in
      fixing a payment schedule. “Upon determination of the
      amount of restitution,” the district court shall specify
      the “manner” in which restitution will be paid, “in
      consideration of-(A) the financial resources and other
      assets of the defendant, including whether any of these
      assets are jointly controlled; (B) projected earnings and
      other income of the defendant; and (C) any financial
      obligations of the defendant; including obligations to
      dependents.” 18 U.S.C. 3664(f)(2). The district court may
      “direct the defendant to make a single, lump-sum payment,
      partial   payments   at   specified  intervals,   in-kind
      payments, or a combination of payments at specified
      intervals   and    in-kind   payments.”   18   U.S.C.   §
      3664(f)(3)(A).
Id. at 1170.
      Defendants’ financial resources and other assets appear to
consist primarily of monies potentially to be recovered through the
forfeiture proceeding.           Arlan Kaufman’s projected earnings and

other     income    presumably     will    be     derived      only    from       prison
employment.        Linda Kaufman also may derive income from prison
employment but she may be employed following her release from
prison.    There is no evidence that either defendant has financial
obligations.

      The court orders that 100% of any sums received by defendants
as a result of the forfeiture proceeding shall be applied to
restitution, as prioritized below.              Additional restitution shall
be   satisfied     by   payments   of   not     less   than    90%    of    the   funds
deposited each month into defendants’ inmate trust accounts and

monthly installments of not less than 50% of either defendants’
gross monthly household income over a period of three years to
commence     thirty     days   after      his/her      release       from     custody.
Restitution is due immediately. Interest pertaining to restitution
is waived.         Defendants’ restitution obligations are joint and

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several.
    Barbara T                     25%
    Nancy J                       25%
    Peter L                       12%
    Jerry J                       12%
    Kevin R                       12%
    Mary O                        10%
    Mennonite Mutual Aid           3%
    Medicare                       1%
    IT IS SO ORDERED.

    Dated this       13th      day of June 2006, at Wichita, Kansas.


                                         s/ Monti Belot
                                         Monti L. Belot
                                         UNITED STATES DISTRICT JUDGE




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